                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

                                      No. 5:18-cv-00029 (H)(KS)

 EGLĖ VAITKUVIENĖ, Individually                    )
 and on Behalf of All Others Similarly             )
 Situated,                                         )
                                                   )
                             Plaintiff,            )
                                                   )
                     v.                            )
                                                   )
 SYNEOS HEALTH, INC., ALISTAIR                     )
 MACDONALD, GREGORY S. RUSH,                            MOTION TO DISMISS PLAINTIFFS’
                                                   )
 MICHAEL BELL, ROBERT                                       AMENDED COMPLAINT
                                                   )
 BRECKON, DAVID F.                                 )
 BURGSTAHLER, LINDA S. HARTY,                             ORAL ARGUMENT REQUESTED
                                                   )
 RICHARD N. KENDER, WILLIAM E.                     )
 KLITGAARD, KENNETH F.                             )
 MEYERS, MATTHEW E.                                )
 MONAGHAN, DAVID Y. NORTON,                        )
 and ERIC P. PÂQUES,                               )
                                                   )
                            Defendants.
                                                   )
                                                   )


       NOW COME Defendants Syneos Health, Inc., Alistair MacDonald, Gregory S. Rush,

Michael Bell, Robert Breckon, David F. Burgstahler, Linda S. Harty, Richard N. Kender, William

E. Klitgaard, Kenneth F. Meyers, Matthew E. Monaghan, David Y. Norton, and Eric P. Pâques

(collectively, “Defendants”), by and through undersigned counsel, and pursuant to Rules 9(b),

12(b)(1), and 12(b)(6) of the Federal Rules of Civil Procedure, as well as the Private Securities

Litigation Reform Act of 1995, 15 U.S.C. §§ 78u-4, 78u-5, and hereby move the Court to dismiss

Plaintiffs’ Amended Complaint (Dkt. No. 35) with prejudice. The grounds for this motion, among

other things, are that Plaintiffs fail to plead with particularity an actionable misstatement or

omission, fail to plead the required state of mind, fail to allege loss causation, and fail to establish




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  their standing to sue or to state a claim upon which relief may be granted. Defendants rely on

  further grounds contained in their Memorandum of Law and the appendices and exhibits thereto,

  which are submitted herewith and incorporated by reference. Defendants respectfully request oral

  argument.

         WHEREFORE, Defendants respectfully request that the Court enter an Order dismissing

  all of Plaintiffs’ claims against them with prejudice.

         This the 20th day of September, 2018.

                                                 WYRICK ROBBINS YATES & PONTON LLP


                                                 By: /s/ Lee M. Whitman
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NORTON, and ERIC P. PÂQUES.




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                               CERTIFICATE OF SERVICE

        The undersigned counsel hereby certifies that on this day a copy of the foregoing
document was filed with the Court's CM/ECF system which served the same on all parties of
record.


       This the 20th day of September, 2018.

                                               /s/ Lee M. Whitman
                                               Lee M. Whitman




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